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                                No. 15-945C
                           (Filed: April 21, 2021)

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4DD HOLDINGS, LLC, and
T4 DATA GROUP, LLC,

                            Plaintiffs,

v.

THE UNITED STATES,

                            Defendant,

and

IMMIX TECHNOLOGY, INC.,

                            Third-Party.

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                                   ORDER

       On April 1, 2021, we granted in part plaintiffs’ motion for fees and
costs as a result of defendant’s spoliation. We directed the parties to consult
and propose a figure for the sanction consistent with our opinion. 1 The
parties have done so and agree on $1,178,266.46. Accordingly, defendant is
hereby ordered to pay $1,178,266.46 as a sanction for spoliation to plaintiffs
on or before May 19, 2021.

15
                                           s/Eric G. Bruggink
                                           ERIC G. BRUGGINK
                                           Senior Judge

1
  We understand that defendant reserves the right to appeal that decision after
final judgment.
